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                      UNITED STATES DISTRICT COURT
            WESTERN DISTRICT OF TENNESSEE
                  WESTERN DIVISION


ONEISHA HARVEY                                  JUDGMENT IN A CIVIL CASE

v.

IT’S ALL GOOD AUTO SALES, INC.,                 CASE NO: 12-2841-A
and MARK GOODFELLOW, individually
and d/b/a IT’S ALL GOOD AUTO SALES,
INC. AND KATONYA JACKSON, individually




DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.


IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Of
Mediated Settlement And Dismissal entered on September 6, 2013,
this cause is hereby dismissed.




APPROVED:


s/ S. Thomas Anderson
UNITED STATES DISTRICT COURT

DATE: 9/10/2013                               THOMAS M. GOULD
                                         Clerk of Court


                                                s/Terry L. Haley
                                         (By)    Deputy Clerk
